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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

LUMINATI NETWORKS LTD.                            §
                                                  §
        v.                                        §          Case No. 2:18-CV-0483-JRG
                                                  §
BISCIENCE INC.                                    §

                     PATENT RULE 4-3 JOINT CLAIM CONSTRUCTION
                           AND PRE-HEARING STATEMENT

        Pursuant to P.R. 4-3 and the Court’s Docket Control Order, Plaintiff Luminati Networks

Ltd. (“Luminati”) and Defendant BIScience (2009) Ltd. (which Plaintiff alleges is also known as

BIScience Inc.) (“Defendant”) hereby submit this Joint Claim Construction and Prehearing

Statement.

        I.        P.R. 4-3(a)(1) Agreed Constructions

        The parties have held a meet-and-confer pursuant to P.R. 4-2(c) and have reached an

agreement to remove from consideration certain claim terms identified in the parties’ preliminary

lists of claim terms to be construed by the Court pursuant to P.R. 4-1 at this time, but have not

reached agreement on any constructions.

        II.       P.R. 4-3(a)(2) – Proposed Constructions for Disputed Claim Terms and
                  Supporting Evidence

        Exhibit A sets forth the parties’ proposed constructions for each disputed term, phrase, or

clause of the asserted claims, and identifies intrinsic and extrinsic evidence on which the parties

intend to rely.

        The parties rely on the intrinsic evidence as a whole relating to the asserted patents,

including the claim language, the specification and figures, the file history, and the references cited

in the patent. Each party reserves the right to rely on any intrinsic or extrinsic evidence identified


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by the other party and any evidence that may be obtained through claim construction discovery.

The parties’ proposed claim constructions are subject to change as claim construction discovery

progresses and the parties brief the issues. Each party reserves the right to supplement or amend

its supporting evidence based on newly identified evidence including, but not limited to, evidence

related to presentation of declarations or testimony.

       III.    P.R. 4-3(a)(3) – Anticipated Length of Time for Claim Construction Hearing
       The Parties anticipate that the Claim Construction Hearing will require approximately 3

hours, with each side being allotted 1.5 hours.

       IV.     P.R. 4-3(a)(4) – Witnesses the Parties Propose to Call at Claim Construction
               Hearing
       The parties do not plan to call any live witnesses at the claim construction hearing. The

parties, however, may offer expert declarations in support to their claim construction briefs.

       V.      P.R. 4-3(a)(5) – Other Issues

       None at this time.

       Pursuant to P.R. 4-3(b), concurrent with this Joint Construction and Pre-Hearing

Statement, the parties anticipate serving disclosures of expert testimony for any expert on which

the party intends to rely to support its proposed claim construction or indefiniteness position or to

oppose any other party’s proposed claim construction or indefiniteness position. To the extent that

any indefiniteness position was not disclosed in Defendant’s P.R. 3-3 disclosures, Plaintiff reserves

the right to supplement its expert declaration.


 Dated: September 6, 2019                             Respectfully submitted,

 By: /s/ Elizabeth L. DeRieux__                       /s/ Eric H. Findlay_______
 S. Calvin Capshaw                                    Eric H. Findlay (State Bar No. 00789886)
 State Bar No. 03783900                               Brian Craft (State Bar No. 04972020)
 Elizabeth L. DeRieux                                 Debby Gunter (State Bar No. 24012752)
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                                 CERTIFICATE OF SERVICE
        I hereby certify that the all counsel of record who are deemed to have consented to
electronic service are being served this 6th day of September, 2019, with a copy of this document
via CM/ECF.
                                            /s/ Eric H. Findlay
                                            Eric H. Findlay




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